                            EXHIBIT A
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                         Dickey's Barbecue Pit
                            20-Day Budget
                        December 14, 2021 to Jan 7, 2022

                                                           Total
Income
 4000 Sales
   4100 Non Catering Sales                                         308,199.24
   4200 Catering Sales                                              10,500.00
 Total 4000 Sales                                   $              318,699.24
 Unapplied Cash Payment Income                                           0.00
Total Income                                        $              318,699.24
Cost of Goods Sold
 5000 Cost of Goods Sold
   5100 Meat                                                        76,487.82
   5200 Grocery                                                     50,991.88
   5300 Beverage                                                    12,747.97
   5400 Paper                                                       12,747.97
   5600 Wood                                                         1,170.04
 Total 5000 Cost of Goods Sold                      $              154,145.68
Total Cost of Goods Sold                            $              154,145.68
Gross Profit                                        $              164,553.56
Expenses
 6000 Payroll Labor Expenses
   6025 Salaries and Wages                                         187,660.98
   6026 Payroll Expense                                              1,113.96
   6100 Overtime                                                         0.00
 Total 6000 Payroll Labor Expenses                  $              188,774.94
 6300 Employer Taxes                                                16,861.69
 7000 Franchise Fees
   7025 Marketing                                                        0.00
   7050 Royalty Expense                                                  0.00
   7060 Training Expenses                                                0.00
 Total 7000 Franchise Fees                          $                    0.00
 7300 Rent & Lease                                                  77,734.23
 7400 Utilities
   7410 Water                                                        3,220.60
   7420 Gas/CO2                                                          0.00
   7445 Cable/Internet                                                465.94
 Total 7400 Utilities                               $                3,686.54
 7800 Repairs & Maintenance
   7811 Pest Control                                                     0.00
   7816 General Repairs                                              3,169.58
 Total 7800 Repairs & Maintenance                   $                3,169.58
 7820 Automobile                                                     1,305.34
 7950 Office Supplies & Software                                         0.00
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 7955 Equipment & Supplies                             702.35
 8000 Ask My Accountant                                   0.00
 8010 Travel                                              0.00
 8100 Bank Charges & Fees
   8110 Credit Card Fees                                  0.00
   8112 Merchant Services                                 0.00
   8115 Bank Fees                                         0.00
 Total 8100 Bank Charges & Fees             $             0.00
 8150 Cash Over / Under                                   0.00
 8200 Equipment Rental                                    0.00
   8201 Ice Machine Rental                                0.00
 Total 8200 Equipment Rental                $             0.00
 8650 Trash / Waste Removal                            500.00
 8830 Miscellaneous Expense                           3,683.75
 8835 Delivery                                            0.00
 8850 Legal & Professional Services
   8851 Legal                                             0.00
 Total 8850 Legal & Professional Services   $             0.00
 QuickBooks Payments Fees                                 0.00
 Unapplied Cash Bill Payment Expense                      0.00
Sales Tax December 2021                              32,557.22
Total Expenses                              $       328,975.64
Net Operating Income                        -$      164,422.08
Other Income
 9100 Other Miscellaneous Income                          0.00
Total Other Income                          $             0.00
Net Other Income                            $             0.00
Net Income                                  -$      164,422.08
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          Rents Due for January 2022                             Sales Tax Due for December 2021

HOU         TX-0978                     $6,223.71   HOU                  TX-0774                     $3,253.12
HOU         TX-1607                     $7,316.88   HOU                  TX-0978                     $6,399.14
HOU         TX-1379                     $2,200.00   HOU                  TX-1379                     $2,367.30
HOU         TX-1750                     $6,888.22   HOU                  TX-1607                     $3,511.88
HOU         TX-0774                     $5,430.09   HOU                  TX-1750                     $2,916.24
HOU         TX-2030                     $4,708.00   HOU                  TX-1899                         $0.00
HOU         TX-2034                     $5,000.00   HOU                  TX-2030                       $169.72
HOU         TX-1899                     $4,192.36   HOU                  TX-2034                     $3,467.46

HOU TOTAL RENT DUE JAN                 $41,959.26   SALES TAX DUE HOU                               $22,084.86

DFW         TX-0003                     $4,300.00   DFW                  TX-0003                     $2,181.04
DFW         TX-0087                     $9,154.25   DFW                  TX-0087                     $2,697.53
DFW         TX-0347                     $3,532.00   DFW                  TX-0347                     $1,298.52
DFW         TX-0426                     $7,259.00   DFW                  TX-0426                       $902.59
DFW         TX-1748                     $5,891.03   DFW                  TX-0675                     $1,429.30
DFW         TX-0675                     $5,638.69   DFW                  TX-1748                     $1,963.38

DFW TOTAL RENT DUE JAN                 $35,774.97   SALES TAX DUE DFW                               $10,472.36



            TOTAL RENT                 $77,734.23                        Total Sales Tax Due       $32,557.22




           Payroll Due W/E 1-2-2022                           ESTIMATED Payroll Due W/E 12-19-2021

Payroll                                $93,422.98   Payroll                                         $94,238.00

Employer Taxes                          $8,382.42   Employer Taxes                                   $8,479.27

ADP Processing Fee                       $556.98    ADP Processing Fee                                $556.98

TOTAL PAYROLL                      $102,362.38      TOTAL PAYROLL                                  $103,274.25
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           FOOD INVOICES DUE                                       VENDOR INVOICES DUE

USFOODS   W/E 12-30-2021          $17,692.75   ALL PONTS PARTS       Equipment Repairs    $3,169.58
STEWART
FOODS     W/E 12-18-2021          $38,822.80   TCS DRAIN             Greas Trap            $500.00
STEWART
FOODS     W/E 12-24-2021          $28,375.55   Grand Praire Water                          $162.18
STEWART
FOODS     W/E 1-7-2021            $36,387.39   Brothers Produce      Produce               $702.35
STEWART
FOODS     W/E 1-14-2021           $32,867.19   Cozzini Brothers      Knife Service          $161.84
                                               Triple D Uniforms                            $439.38
          TOTAL FOOD             $154,145.68   Snag-A-Job                                   $211.53
                                               Addison Water                                $839.01
                                               Kleinwood MUD         Water/Sewer          $1,323.41
                                               Comcast               TX-2030                $465.94
                                               Barri Financial       Payroll Check        $2,060.00
                                               Amtrust Nort          W/C Installment        $811.00
                                               Fuel Man              Fuel Auto            $1,305.34
                                               Spring Water                                $896.00

                                                                     Total Invoices      $13,047.56




          Total Cash Requested                        $483,121.32
